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                                                            USDC SDNY
UNITED STATES DISTRICT COURT                                DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                               ELECTRONICALLY FILED
--------------------------------------------------------X   DOC #: __________________
ANNE DE LACOUR, ANDREA WRIGHT, and                          DATE FILED: June 6, 2021
LOREE MORAN, individually and on behalf of
all others similarly situated,

                                   Plaintiffs,                   16-CV-8364 (KMW)
                 v.
                                                                       ORDER
COLGATE-PALMOLIVE CO., and TOM’S OF
MAINE, INC.,

                                    Defendants.
--------------------------------------------------------X
KIMBA M. WOOD, United States District Judge:

        On May 28, 2021, Plaintiffs filed a case scheduling proposal and a proposed notice plan.

(ECF Nos. 149-50.) Defendants, however, requested that scheduling of any further actions in

this case be “postponed” until the Second Circuit has ruled on its Petition for Permission to

Appeal the Court’s April 23, 2021 Opinion and Order on class certification under Rule 23(f) of

the Federal Rules of Civil Procedure. (ECF No. 149 at 1-2.)

        The Court DENIES Defendants’ request and ORDERS Defendants to (1) file a motion to

stay, accompanied by a memorandum of law, if the Second Circuit grants the Petition and if

Defendants wish to seek a stay; and (2) file a letter outlining Defendants’ position on case

scheduling (using the Court’s model discovery plan and model scheduling order) and on

Plaintiffs’ proposed notice plan, by June 25, 2021.


SO ORDERED.

 Dated: New York, New York                                    /s/ Kimba M. Wood
        June 6, 2021                                           KIMBA M. WOOD
                                                            United States District Judge




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